                                                             April 27, 2018

[ADDRESS BLOCK]



Dear Mr./Ms. [NAME]:


        As has been previously reported, the voter registration system at the Pennsylvania
Department of Transportation (PennDOT) may have allowed individuals to inadvertently apply
to register to vote when obtaining or renewing a driver’s license or photo ID. System changes
were implemented last year to correct this longstanding technical issue with the Motor Voter
electronic system and to prevent future occurrences of this issue. While reviewing this issue, the
Department of State discovered that additional individuals may also require confirmation of
voter registration requirements.

       To ensure and confirm the accuracy of your voter information, you may review and
update your status and information by visiting the Department of State’s online voter registration
system at www.votespa.com, by calling 1-877-VOTESPA (1-877-868-3772) or by contacting
your local county election office. Please do not contact PennDOT about this matter.

       To register to vote in Pennsylvania, you must be:

           •   A citizen of the United States for at least one month before the next primary,
               special, municipal, or general election.

           •   A resident of Pennsylvania and the election district in which you want to register
               and vote for at least 30 days before the next primary, special, municipal, or
               general election.

           •   At least 18 years of age on or before the day of the next primary, special,
               municipal, or general election.

        If you meet all of these requirements, you may disregard this notice. If you do not meet
these requirements or you are unsure, you can contact the county election office where you are
registered. You may find county election office contact information at
www.votespa.com/county. Thank you for your prompt attention to this matter.


                                                             Pennsylvania Department of State
                                                             Bureau of Commissions, Elections,
                                                             and Legislation




                                                                                         Exhibit B
